          Case 2:09-cr-02968-RB        Document 488         Filed 01/14/14   Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF NEW MEXICO


DANIEL RAMON MUNOZ,

                 Petitioner,

v.                                                            Civ. 13-cv-0052 RB/RHS
                                                              Cr. 09-2968 RB
UNITED STATES OF AMERICA,

                 Respondent.


                     ORDER ADOPTING MAGISTRATE JUDGE=S
               PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

          THIS MATTER comes before the Court on the Magistrate Judge=s Proposed Findings and

Recommended Disposition (Doc. 20), filed December 4, 2013, which recommends dismissal of

Petitioner Daniel Ramon Munoz=s Motion Under 28 U.S.C. ' 2255 To Vacate, Set Aside or

Correct Sentence by a Person in Federal Custody (Doc. 1). The time for filing objections expired

December 23, 2013. No objections have been filed.

          The Court has made a de novo determination and agrees with the Magistrate Judge=s

Proposed Findings and Recommended Disposition, and will deny Petitioner=s 28 U.S.C. ' 2255

Motion, and dismiss this civil proceeding with prejudice.

          IT IS HEREBY ORDERED that the Proposed Findings and Recommended Disposition

of the Magistrate Judge (Doc. 20) are adopted by the Court and Petitioner=s Objections are hereby

denied.

          IT IS FURTHER ORDERED that the Motion Under 28 U.S.C. ' 2255 To Vacate, Set
       Case 2:09-cr-02968-RB         Document 488        Filed 01/14/14     Page 2 of 2




Aside or Correct Sentence by a Person in Federal Custody (Doc. 1) is denied and this civil

proceeding is dismissed with prejudice.

       SO ORDERED January 13, 2014.




                                            _________________________________________
                                            ROBERT C. BRACK
                                            UNITED STATES DISTRICT JUDGE
